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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


     IN RE: ZANTAC (RANITIDINE)                                                      MDL NO. 2924
     PRODUCTS LIABILITY                                                               20-MD-2924
     LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

    _______________________________/

    THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER # 73
        Order on Review of Plaintiffs’ Leadership Structure and Additional Appointments

           In Pretrial Order # 1, the Court invited attorneys to apply for positions as Plaintiffs’ lead

    counsel or on a committee. The Court required the applications to address, among other things,

    willingness and ability to commit time and resources to this multi-district litigation (“MDL”),

    ability to work cooperatively with others, and professional experience in other MDLs. See DE 13

    at 11-13. The Court received over 60 applications and conducted interviews of all applicants over

    the course of a 2-day period in May of 2020. The Court considered many factors, including the

    individual applicant’s skill, background, ethical standards, professionalism, collaboration, other

    leadership positions, and reputation earned from colleagues and judges in other litigation. The

    Court sought to appoint a diverse leadership team that is representative of the inevitable diversity

    of the Plaintiffs and a team that affords younger and slightly less experienced attorneys an

    opportunity to participate in a leadership role in an MDL. Following this exhaustive evaluation

    process, the Court created a Plaintiffs’ leadership structure that encompassed the Court’s

    objectives and explained the appointees’ duties and responsibilities in Pretrial Order # 20.

    See DE 685.
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            The leadership structure that the Court created consisted of Co-Lead Counsel, Liaison

    Counsel, a Plaintiffs’ Steering Committee (“PSC”), a Leadership Development Committee

    (“LDC”), and several other committees. First, the Court appointed four Co-Lead Counsel who

    would bear the ultimate responsibility for prosecuting potential claims and coordinating the pretrial

    proceedings for Plaintiffs.         Second, the Court appointed a Liaison Counsel to facilitate

    communications with the Court and all counsel and to assist counsel in complying with the rules

    and procedures of this Court. 1 Third, the Court appointed 15 PSC members to operate under the

    direction of Co-Lead Counsel and to assist Co-Lead Counsel in fulfilling their duties. 2 Fourth, the

    Court appointed five attorneys to the LDC. The LDC members are attorneys who previously had

    not been appointed to a committee in an MDL or who the Court otherwise considered to be less

    experienced in MDLs. The Court expressed its intent for the LDC as follows:

            The Court was impressed by the insights of each of these applicants and sees the
            potential in each of them to become leaders within the MDL bar. The Court
            believes these attorneys will benefit from the mentorship and experience gained
            from participation in a large and complex MDL, and that the MDL will equally
            benefit from their enthusiasm and fresh perspective. The attorneys appointed to the
            LDC, most of whom have not previously been appointed to an MDL steering
            committee, shall be mentored by and work with those attorneys appointed to the
            PSC. It is the Court’s expectation that the PSC members will actively mentor and
            work closely with the attorneys appointed to the LDC so they have the opportunity
            to play a meaningful role in various aspects of this MDL, including subcommittee
            assignments, and thereby gain further experience in preparation for future service
            on steering committees.

    Id. at 7. The Court also named two PSC members as LDC co-chairs to ensure that LDC members

    receive appropriate opportunities in this MDL, including opportunities to make court

    presentations. Fifth and finally, the Court named chairs and co-chairs of an ESI/Document




    1
      Subsequently, the Court also charged Liaison Counsel with making recommendations to ensure that pro se litigants
    in the MDL are kept reasonably informed of the litigation. See DE 1194.
    2
      The PSC currently has 14 members.

                                                            2
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    Production Committee, a Law & Briefing Committee, a Science & Experts Committee, and a

    Bellwether & Trial Team.

               In making these appointments, the Court recognized that the needs of this MDL could

    change as the litigation advanced, and the Court therefore explained that it would monitor the

    leadership structure to ensure that Plaintiffs and unfiled Claimants were being appropriately and

    adequately represented. Specifically, the Court stated:

               The Court will consider a process for periodically evaluating leadership appointees’
               performance and commitment to the tasks assigned, as well as the ongoing needs
               of the litigation. The Court anticipates that this evaluation will happen on an
               approximately annual basis; but this timing will be adjusted as circumstances
               warrant and at a time that minimizes any disruption to the litigation that might occur
               if changes were made to the team. In evaluating the leadership team, the Court will
               consider the amount of time counsel has devoted to the litigation and the resources
               counsel and/or his or her firm have contributed to the litigation, as well as whether
               any counsel is in arrears in his or her contributions, the ability of counsel to work
               collaboratively with other members of the leadership team and counsel not
               appointed to a leadership position and the commitment counsel has shown to the
               fair, just and efficient management of the case. The Court will also periodically
               assess the needs of the litigation overall, including whether any additional or
               different resources are necessary for the Plaintiffs’ leadership as the case
               progresses.

    Id. at 12-13. 3

               The Court has raised the topic of the evaluation process for the leadership structure and

    appointments with Plaintiffs’ and Defendants’ Co-Lead Counsel at various points in the litigation.

    The Court has sought their input, as it has on most important issues impacting this MDL, both as

    to how the evaluation process should be conducted and what changes, if any, should be made to

    the leadership structure and appointments. Plaintiffs’ Co-Lead Counsel have proposed and

    undertaken an evaluation process consistent with the intent of Pretrial Order # 20 and made

    recommendations to the Court. Defendants’ Co-Lead Counsel, on the other hand, have represented



    3
        The Court similarly created a defense leadership structure in Pretrial Order # 22. See DE 747.

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    to the Court that the current leadership structure should remain in place. Notably, the number of

    Defendants at issue in the master complaints has changed significantly since the beginning of this

    litigation. Only manufacturers of brand-name ranitidine products remain as Defendants in the

    master complaints, and each Defendants’ Co-Lead Counsel represents one of the four brand-name

    manufacturers. 4 Thus, the need for any change in the leadership structure and appointments for

    Defendants is different than for Plaintiffs. As for Plaintiffs, there were approximately 280 cases

    filed in this MDL when the Court appointed Plaintiffs’ leadership; today there are over nearly

    2,200 filed cases. In addition, the Registry being utilized in this MDL was only at its inception

    when the Court appointed Plaintiffs’ leadership; today over 150,000 Claimants have registered

    their claims in the Registry.

             The Court commends Plaintiffs’ Co-Lead Counsel for taking into account the factors that

    the Court set forth in Pretrial Order # 20 as well as additional factors that leadership considered

    appropriate in making leadership recommendations to the Court. The Court recognizes that the

    process was time intensive, required active participation by all members of Plaintiffs’ leadership

    team, and reflected an earnest effort to gage leadership’s own performance and the needs of the

    case. To that end, Plaintiffs’ Co-Lead Counsel have made a number of recommendations as to

    Plaintiffs’ leadership structure. The Court adopts those recommendations and hereby modifies

    Pretrial Order # 20 as to Plaintiffs’ leadership appointments only. In all other respects, Pretrial

    Order # 20 remains in effect.

             First, Plaintiffs’ Co-Lead Counsel have recommended that the Court appoint Ashley

    Keller, Frederick Longer, Francisco Maderal, and Steve Rotman to the PSC. Plaintiffs’ Co-Lead



    4
     The original master complaints filed in the MDL named both brand-name and generic manufacturers of ranitidine
    products, as well as retailers, distributors, and repackagers of the products. The Court has dismissed the claims in the
    master complaints against the generic manufacturers, retailers, distributors, and repackagers.

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    Counsel have provided the Court with sufficient information for the Court to be assured that these

    individuals are capable of fulfilling the roles and duties of PSC members set forth in Pretrial Order

    # 20. With the exception of Mr. Maderal, whom the Court appointed as Liaison Counsel in Pretrial

    Order # 5 on February 28, 2020, the Court interviewed each of the recommended appointees during

    its May 2020 interviews of all applicants for a leadership position in this MDL. Throughout this

    litigation, Mr. Keller and Mr. Longer have served as Co-Chairs of the Law & Briefing Committee

    and, since the Summer of 2020, Mr. Rotman has served as a member of the Science Committee.

    Accordingly, the Court appoints Ashley Keller, Frederick Longer, Francisco Maderal, and Steve

    Rotman to the PSC effective as of the date of entry of this Order.

           Second, Plaintiffs’ Co-Lead Counsel have recommended that the Court elevate the

    following five current LDC members to the PSC: Paige Boldt, Je Yon Jung, Adam Krause, Nicola

    Larmond-Harvey, and Bradford Lear. Each of the LDC members has appeared before the Court

    during the interview process as well as at court hearings to, for example, argue motions to dismiss,

    resolve discovery disputes, address the bellwether trial process, and provide procedural updates.

    See, e.g., DE 2503, 3682, 4391. The LDC members have also provided updates to the Court on

    their respective roles in the MDL. For example, one LDC member, at a Case Management

    Conference on September 21, 2020, described the LDC experience as:

           comprised of five members with diverse career paths and personal backgrounds,
           and 63 years of combined legal experience. Over the last nearly five months since
           our appointment and your selection of us we have been fully integrated into the
           Plaintiffs steering committee as equal and active members. Amongst our five
           members, we have comprehensive representation and membership on every single
           one of the PSC's committees. We have made substantive procedural and strategic
           contributions, be it from meet and confers to brief writing to strategic decisions
           about discovery. In short, we have not been relegated to subordinate positions as
           members of the PSC, which has been an amazing experience. I know I speak on
           behalf of all the members that it has been truly amazing. The one thing when I
           polled the other four members is that every single one felt that we had been fully
           included and embraced as a full member, have not been given the worst

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           assignments, and we have taken equal part of all the assignments and participation
           in the duties and responsibilities that we have. The coleads and the committee
           chairs and our LDC co-chairs are fully engaged and provide mentorship on a regular
           basis, if not weekly, if not daily. The coleads and the chairs are consistently
           checking in with us and providing -- we, as LDC members, are also providing our
           unique input and experiences and they're welcomed and invited, and that has been
           the case since the five months we have been here. I speak on behalf of the Plaintiffs
           LDC to thank the PSC members for embracing the concept that your Honor has
           implemented here and the members of the LDC so completely and fully.

    DE 2087 at 142-43.

           A member of the PSC and one of the LDC co-chairs also addressed the Court at the

    September 21 Case Management Conference and provided her assessment of the LDC members

    in the following way:

           I'm one of the co-chairs of the Plaintiffs Leadership Development Committee.
           Thanks for the opportunity this afternoon to present and let the Court know what is
           going on with the Plaintiffs Leadership Development Committee. . . . It's been a
           great experience for all of us. We know the Court wanted to create a diverse group
           for mentorship through the Plaintiffs Leadership Development Committee and the
           Court has done just that. That is certainly the case that we have a diverse group
           even within a very diverse PSC. We have among our LDC members on the
           Plaintiffs' side individuals who are new to mass torts, but who have had a long
           career in litigation otherwise. We have folks on our LDC committee who have
           practiced in mass torts for years and are leading their law firms, and we also have
           lawyers who had careers before becoming lawyers and who offer different and
           wonderful things to the Plaintiffs Steering Committee. The bottom line is that each
           LDC member on our side has a background that benefits not just the LDC, but the
           PSC as a whole. It has been wonderful to work within that group. The Court, of
           course, recognized that each of the LDC members had these qualifications when
           you interviewed us, or interviewed them and placed them in these positions in the
           formation of the MDL, but what the Court perhaps didn't realize is that you were
           really creating a think tank of lawyers that has now fully integrated into every
           aspect of this case. As for the mentorship piece of the LDC on the Plaintiffs' side,
           that has also been great. We meet weekly and I can say for myself, and I think I
           speak for others, that the mentorship really does flow both ways. We constantly
           learn from one another in the course of our meetings as we collaborate and work
           together on various issues and also through regular communication. We, as leaders
           of the LDC, working with leadership, make sure that LDC members are integrated
           fully into the PSC and working on every facet of the case as we go forward. With
           the creation of the LDC the Court, I believe, has succeeded in what we believe was
           intended, and that is taking already very accomplished lawyers and putting them in
           a position of PSC leadership that they had not been given an opportunity to have

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            before. You asked early on in the hearing today whether we had any suggestions.
            My only suggestion would be that the Court continue with this process in other
            MDLs and certainly encourage the adoption of a Leadership Development
            Committee for other MDLs in the future.

    Id. at 130-32.

            These comments, along with many others, and the Court’s observation and knowledge of

    the LDC members and their contributions to the MDL persuade the Court that it is appropriate,

    based on the recommendation of Plaintiffs’ Co-Lead Counsel and the intent of the Court in

    establishing the LDC, to elevate Paige Boldt, Je Yon Jung, Adam Krause, Nicola Larmond-Harvey

    and Bradford Lear to the PSC.5

            Third, Plaintiffs’ Co-Lead Counsel have recommended that the Court appoint a new slate

    of LDC members, each of whom has been represented to the Court as a lawyer who has not

    previously received an MDL leadership appointment and has played an important at role on

    Plaintiffs’ leadership team in prosecuting the MDL. Plaintiffs’ Co-Lead Counsel believe that

    appointing a new class of LDC members will prepare another cadre of lawyers to serve in MDL

    leadership positions and will enhance their future MDL leadership applications. The Court agrees.

    The Court expressed its hope in Pretrial Order # 20 that, as litigation moves forward, the leadership

    team will endeavor to build on the diversity of its team. With the recommendation of a new slate

    of 12 LDC members, Plaintiffs’ Co-Lead Counsel have done just that. The next generation of

    MDL leaders has expanded within this MDL and will be well suited to assume even greater

    leadership roles in future MDLs. Accordingly, the Court appoints the following to Plaintiffs’

    LDC: Brooke Achua, Harrison Biggs, Lea Bucciero, Alexander Cohen, Marlo Fischer, Kendra


    5
     Although Defendants have not sought changes to their leadership structure at this time, the Court would also like to
    commend the members of Defendants’ LDC for their meaningful contributions to this MDL. Like the members of
    Plaintiffs’ LDC, Defendants’ LDC members regularly have appeared before the court during motion and discovery
    hearings and status conferences. The Court encourages the continuing effort to ensure that all LDC members are
    given opportunities to make integral and meaningful contributions to this MDL.

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    Goldhirsch, Noah Heinz, Catelyn McDonough, Caroline McGlamry, Madeline Pendley, Laura

    Stemkowski, and Daniel Tropin.

            The Court attaches to this Order Exhibit A which reflects the new Plaintiffs’ leadership

    team.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 8th day of

    March, 2022.

                                                 _______________________________________
                                                 ROBIN L. ROSENBERG
                                                 UNITED STATES DISTRICT JUDGE




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                                             Exhibit A
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